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                               AFFIDAVIT

I, Christopher Stantzos, being duly sworn, declare and state as

follows:

                       I. PURPOSE OF AFFIDAVIT

           This affidavit is made in support of a criminal

complaint and arrest warrant against ROBERT CLAYTON JACOBS III

(“JACOBS”) for violation of 18 U.S.C. § 922(g)(1): Felon in

Possession of a Firearm.

           This affidavit is also made in support of an

application for a warrant to search the following digital device

(the “SUBJECT DEVICE”), in the custody of the Bureau of Alcohol,

Tobacco, Firearms, and Explosives (“ATF”) in Santa Maria,

California, as described more fully in Attachment A:

           a.   one black Samsung cell phone, unknown model and

serial number, with a sticker portraying a pocketknife and a

sticker portraying a lighter attached to the back.

           The requested search warrant seeks authorization to

seize evidence, fruits, or instrumentalities of violations of

Title 18, United States Code, Section 922(g) (Felon in

Possession of a Firearm); Section 924(c) (possession of a

firearm in furtherance of a drug trafficking crime); Title 26,

United States Code, Section 5861(d) (Possession of an

Unregistered Rifle in NFRTR with a Barrel of Less than 16 Inches

in Length); and Title 21, United States Code, Section 841(a)(1)

(Possession With Intent to Distribute Controlled Substances)

(the “Subject Offenses”), as described more fully in Attachment

B.   Attachments A and B are incorporated herein by reference.
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             The facts set forth in this affidavit are based upon

my personal observations, my training and experience, and

information obtained from various law enforcement personnel and

witnesses.    This affidavit is intended to show merely that there

is sufficient probable cause for the requested complaint, arrest

warrant, and search warrant, and does not purport to set forth

all of my knowledge of or investigation into this matter.

Unless specifically indicated otherwise, all conversations and

statements described in this affidavit are related in substance

and in part only.

                       II. BACKGROUND OF AFFIANT

             I am a Special Agent (“SA”) with ATF and have been so

employed for two years.     I was hired by ATF in March 2020 and

attended the ATF Academy from March through December 2020, where

I received approximately 1,000 hours of formal training in

various aspects of conducting firearms, explosives, arson,

firearms trafficking, and gang investigations.         Before joining

the ATF, I was an Intelligence Analyst (“IA”) for the Federal
Bureau of Investigation (“FBI”) for approximately four and a

half years.    As an IA, I produced intelligence products in

furtherance of civil rights crimes investigations and complex

international money laundering investigations.         Before joining

the FBI, I was a forensic scientist for the Washington, DC

Department of Forensic Sciences, where I identified, documented,

preserved, and collected physical evidence from crime scenes for

nearly two years.




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          I have debriefed multiple informants, witnesses, and

subjects who had personal knowledge regarding illegal firearms

and narcotics trafficking.     Additionally, I have participated in

many aspects of gang, firearms, and drug investigations,

including undercover operations, arrests, and surveillance.           I

am familiar with firearms and drug traffickers’ methods of

operation, including the distribution, storage, and

transportation of drugs, as well as the collection of money

proceeds of drug-trafficking and money-laundering methods used

to conceal the nature of the proceeds.       I have participated in

multiple investigations involving the illegal manufacture and

sale of firearms.    I am familiar with the methods employed by

gang members to thwart detection by law enforcement including

the use of cellular telephone technology, counter-surveillance

techniques, false or fictitious identities and addresses, money-

laundering techniques, and coded language.

          Currently, I am assigned to the Los Angeles Field

Division, Santa Maria Satellite Office (“SMSO”) of the ATF.           I

have been assigned to the SMSO since March 2020, in which time I

have participated in controlled purchase operations, undercover

operations, search warrants, and gang investigations in Los

Angeles, Santa Barbara, and San Luis Obispo Counties.

                    III. SUMMARY OF PROBABLE CAUSE

          On January 14, 2022, Santa Barbara Sheriff’s Office

(“SBSO”) deputies conducted a traffic stop and subsequently

arrested JACOBS for driving under the influence (“DUI”) of drugs

in Montecito, California.     SBSO deputies then conducted a



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probable cause search of JACOBS’s car for additional evidence of

drugs and an inventory of the contents of the car prior to

towing.   During their search, deputies found one Colt Government

Model MKIV .45 caliber pistol, bearing serial number SS10327E,

in the front passenger seat area of JACOBS’s car, along with

three additional firearms bearing no serial number (commonly

referred to as “ghost guns”) and various magazines and

ammunition.    Deputies also found the SUBJECT DEVICE in the

center console of JACOBS’s car.
             Following the incident, SBSO deputies obtained a state

search warrant for JACOBS’s residence located on Calle Del Sol

Road in Santa Barbara, California.         On January 18, 2022, during

execution of the search warrant, SBSO deputies found three ghost

rifles with no serial numbers; various magazines and ammunition;

a suspected handgun silencer; and various firearms parts,

including receivers, barrels, trigger assemblies, handgun

sights, rifle sights, rifle handguards, rifle handgrips, and

adjustable rifle stocks.

             On February 23, 2022, I measured the length of the

barrels of two of the ghost gun rifles found on January 18, 2022

and found the barrel of the rifle that was red and black in

color to be approximately 12 inches in length and the barrel of

the rifle that was black and silver in color to be nine inches

in length.

             JACOBS has previously been convicted of a felony and

is therefore prohibited from possessing firearms or ammunition.

Specifically, on or about March 20, 2014, JACOBS was convicted



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of grand theft, in violation of California Penal Code Section

487(a)(F), in the Superior Court of California, County of Santa

Barbara, Case Number 1443571.

                   IV. STATEMENT OF PROBABLE CAUSE
          Based on my review of law enforcement reports,

conversations with other law enforcement agents, and my own

knowledge of the investigation, I am aware of the following:

     A.   SBSO Traffic Stop of JACOBS Results in DUI
          Investigation

           On or about January 14, 2022, SBSO Deputy John

Valenti conducted a traffic stop of a 2000 Ford Expedition

bearing California license plate number ending in 762 for having

an expired registration tag and a broken brake light.          The stop

was conducted in the area of Coast Village Road and Olive Mill

Road in Montecito, California.      During the traffic stop, Deputy

Valenti identified the driver as JACOBS.        JACOBS did not have a

valid driver’s license.

          Later during the traffic stop, SBSO Deputy Rockwell

Ellis arrived to conduct a DUI drugs investigation of JACOBS,

which was captured on Deputy Valenti’s body-worn camera.          Based

on Deputy Ellis’s DUI investigation, which included Deputy

Ellis’s observations that JACOBS’s eyes were red and watery,

that JACOBS had track marks on both forearms with fresh

injection sites, and other psychophysical tests of JACOBS,

Deputy Ellis concluded that JACOBS was too impaired to operate a

vehicle safely.   JACOBS was arrested for driving under the

influence, in violation of California Vehicle Code Section




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23152(f), and taken to the Carpinteria Station for a drug

recognition exam.

     B.    Discovery of Colt Handgun and SUBJECT DEVICE in
           JACOBS’s Vehicle
           Following JACOBS’s arrest, Deputy Ellis and Senior

Deputy Delgadillo conducted a search of JACOBS’s car for

additional evidence of the DUI offense and an inventory of the

contents of the car prior to it towed pursuant to California

Vehicle Code § 22651(p).     During their search, deputies found

the following in the front passenger seat area of JACOBS’s car:

           a.   a Colt Government Model MKIV .45 caliber pistol,

bearing serial number SS10327E;

           b.   Three 9mm Glock-style handguns without serial

numbers.   Two of the 9mm handguns contained magazines, one of

which was loaded with fifteen rounds of 9mm ammunition; and

           c.   A box containing 36 rounds of .45 caliber

ammunition.

           In the center console of JACOBS’s car, deputies found

the SUBJECT DEVICE and a black bag containing suboxone and

unknown type pills.

           Deputies also found the following in the back seat

area or rear area of JACOBS’s car:

           a.   A total of approximately 5.2 grams of suspected

methamphetamine;

           b.   A total of approximately 7.4 grams of suspected

heroin;




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              c.   A box containing various prescription

medications;

              d.   A prescription bottle in JACOBS’s name containing

gabapentin, propranolol hydrochloride, and buspirone

hydrochloride;

              e.   Eight concealable blade knives;

              f.   One pair of black metal knuckles; and

              g.   Seven lockpick kits and other lockpicking tools.

        C.    JACOBS’s Post-Arrest Statements
              After arresting JACOBS, Deputy Valenti transported

JACOBS to Goleta Valley College Hospital for a voluntary blood

test.     Following the blood test, Deputy Valenti reminded JACOBS

that Deputy Ellis had previously read JACOBS his Miranda rights

at the scene.      Deputy Valenti then asked JACOBS if he understood

his rights and if JACOBS needed Deputy Valenti to read his

Miranda rights to him again.      JACOBS stated he did not need his

Miranda rights read to him again.      Deputy Valenti again asked

JACOBS if he understood his rights and would be willing to

answer questions about his arrest, to which JACOBS replied,

“Sure.”

              JACOBS initially told Deputy Valenti that the firearms

found in his vehicle belonged to his grandfather who had

recently passed away.      However, JACOBS then recanted his story

and said that the Colt Government Model MKIV pistol was gifted

to him.      According to JACOBS, in late 2020, he went to an

acquaintance’s residence in Goleta, California and saw another

associate, K.D., at the residence.         JACOBS said the Colt pistol



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was sitting openly on a table.      JACOBS said he took the Colt

pistol, and K.D. offered to let JACOBS keep it.
              As to the three 9mm handguns bearing no serial number

found in the car, JACOBS admitted that he manufactured them

himself from components that he bought.

              JACOBS also admitted that he ordered the ammunition

from an online source.

              JACOBS admitted that he was a convicted felon.

              JACOBS also admitted that the drugs in the car

belonged to him, and that he had used methamphetamine and heroin

prior to driving his car earlier that evening.

        D.    Search of JACOBS’s Residence on Calle Del Sol in Santa
              Barbara, California Yields Additional Firearms

              On January 16, 2022, at the request of the SBSO, the

Honorable Brian Hill of the Superior Court for the State of

California, County of Santa Barbara, signed a search warrant for

firearms and firearms related parts and accessories at JACOBS’s

residence located on Calle Del Sol in Santa Barbara, California.

This address was listed on JACOBS’s driver’s license and the
registration of that car in which he was stopped on January 14,

2022.

              On January 18, 2022, SBSO deputies and detectives

executed the search warrant at JACOBS’s residence.         Two

occupants, J.J. and J.W., were at the residence during the

search.      J.W. told the officers that two sheds in the backyard

of the residence were locked and were used by JACOBS for

storage.     J.W. said that she did not have a key to either shed.




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             SBSO deputies and detectives searched the white shed

with red trim in the backyard of JACOBS’s residence.          The shed

appeared to belong to JACOBS based on the fact an invoice for

rifle stock and ammunition in JACOBS’s name, as well as other

boxes in JACOBS’s name were found in the shed and J.W.’s

statement that JACOBS used the shed.

             In the white shed with red trim, SBSO deputies and

detectives found the following:

             a.   Four Polymer80 pistol frame jigs, matching the

ones needed to make the three 9mm handguns found in JACOBS’s car

on January 14, 2022;

             b.   An electronic drill press;

             c.   Depth gauge set;

             d.   Tape and die set;

             e.   Two BB gun firearm replicas;

             f.   Bear spray;

             g.   Approximately 2.9 grams of suspected heroin; and

             h.   Syringes and drug paraphernalia.

             SBSO deputies also searched the white shed with green

trim in the backyard.     It appeared that this shed also belonged

to JACOBS based on the fact that his birth certificate and boxes

from weapons parts companies to JACOBS were found in the shed as

well as J.W.’s statement that JACOBS used the shed.

             In the white shed with green trim, SBSO found the

following:

             a.   A short-barrel AR-15 style assault rifle with a

black 300-BLK barrel and red lower receiver;



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             b.   A short-barrel AR-15 style assault rifle with a

5.56 caliber barrel;

             c.   A black AR-15 style assault rifle with a black

300-BLK barrel;

             d.   A suspected handgun silencer;

             e.   Various firearms parts, including receivers,

barrels, trigger assemblies, handgun sights, rifle sights, rifle

handguards, rifle handgrips, and adjustable rifle stocks;

             f.   Various magazines and ammunition.
        E.   Measurement of the Two Rifles’ Barrel Lengths Reveals
             Violations of Title 26 United States Code 5861(d)
             On February 23, 2022, I examined the black and red

.300 Blackout caliber ghost gun rifle, with no serial number,

and black and silver.300 Blackout caliber ghost gun rifle, with

no serial number, found in JACOBS’s residence on January 18,

2022.

             a.   I measured the length of the barrel of the black

and red privately manufactured rifle to be approximately 12

inches in length.
             b.   I measured the length of the barrel of the black

and silver privately manufactured rifle to be approximately 9

inches in length.

             Under Title 26, United States Code, Section

5845(a)(3), the definition of a firearm includes a rifle with a

barrel or barrels of less than 16 inches in length.

             On February 24, 2022, I submitted a query to the

National Firearms Registration and Transfer Record (“NFRTR”) to




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determine if JACOBS had registered these short-barreled rifles

as required under Title 26, United States Code, Section 5861(d).

On the same day, I learned JACOBS had no firearms registered

with the NFRTR in his name.

      F.    JACOBS’s Criminal History
            On March 4, 2022, I reviewed certified conviction

documents for JACOBS and learned that JACOBS has previously been

convicted of the following felony crime punishable by a term of

imprisonment exceeding one year:

            a.    On or about March 20, 2014, a violation of

California Penal Code in the Superior Court for the State of

California, County of Section 487(a)(F) (Grand Theft) in the

Superior Court of California, County of Santa Barbara, Case

Number 1443571.

      G.    Interstate Nexus

            On March 7, 2022, ATF Interstate Nexus Expert Special

Agent Bryan Traverso examined the Colt Government Model MKIV .45

caliber pistol bearing serial number SS10327E recovered from

JACOBS’s car on January 14, 2022.       Agent Traverso confirmed that

the pistol was manufactured outside of the State of California.

Because the pistol was found in California, I believe that it

has traveled in and affected interstate commerce.

           V. TRAINING AND EXPERIENCE ON FIREARMS OFFENSES

            From my training, personal experience, and the

collective experiences related to me by other law enforcement

officers who conduct who conduct firearms investigations, I am

aware of the following:



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           a.    Persons who possess, purchase, manufacture, or

sell firearms generally maintain records of their firearm

transactions as items of value and usually keep them in their

residence, or in places that are readily accessible, and under

their physical control, such in their digital devices.           It has

been my experience that prohibited individuals who own firearms

illegally will keep the contact information of the individual

who is supplying firearms to prohibited individuals or other

individuals involved in criminal activities for future purchases

or referrals.    Such information is also kept on digital devices.

           b.    Many people also keep mementos of their firearms,

including digital photographs or recordings of themselves

possessing or using firearms on their digital devices.           These

photographs and recordings are often shared via social media,

text messages, and over text messaging applications.

           c.    Those who illegally possess firearms often sell

their firearms and purchase firearms.        Correspondence between

persons buying and selling firearms often occurs over phone

calls, e-mail, text message, and social media message to and

from smartphones, laptops, or other digital devices.          This

includes sending photos of the firearm between the seller and

the buyer, as well as negotiation of price.         In my experience,

individuals who engage in street sales of firearms frequently

use phone calls, e-mail, and text messages to communicate with

each other regarding firearms that the sell or offer for sale.

In addition, it is common for individuals engaging in the

unlawful sale of firearms to have photographs of firearms they



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or other individuals working with them possess on their cellular

phones and other digital devices as they frequently send these

photos to each other to boast of their firearms possession

and/or to facilitate sales or transfers of firearms.

            VI. TRAINING AND EXPERIENCE ON DRUG OFFENSES
           Based on my training and experience and familiarity

with investigations into drug trafficking conducted by other law

enforcement agents, I know the following:

           a.    Drug trafficking is a business that involves

numerous co-conspirators, from lower-level dealers to higher-

level suppliers, as well as associates to process, package, and

deliver the drugs and launder the drug proceeds.          Drug

traffickers often travel by car, bus, train, or airplane, both

domestically and to foreign countries, in connection with their

illegal activities in order to meet with co-conspirators,

conduct drug transactions, and transport drugs or drug proceeds.

           b.    Drug traffickers often maintain books, receipts,

notes, ledgers, bank records, and other records relating to the

manufacture, transportation, ordering, sale and distribution of

illegal drugs.    The aforementioned records are often maintained

where the drug trafficker has ready access to them, such as on

their cell phones and other digital devices.

           c.    Communications between people buying and selling

drugs take place by telephone calls and messages, such as e-

mail, text messages, and social media messaging applications,

sent to and from cell phones and other digital devices.           This

includes sending photos or videos of the drugs between the



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seller and the buyer, the negotiation of price, and discussion

of whether or not participants will bring weapons to a deal.            In

addition, it is common for people engaged in drug trafficking to

have photos and videos on their cell phones of drugs they or

others working with them possess, as they frequently send these

photos to each other and others to boast about the drugs or

facilitate drug sales.

           d.     Drug traffickers often keep the names, addresses,

and telephone numbers of their drug trafficking associates on
their digital devices.      Drug traffickers often keep records of

meetings with associates, customers, and suppliers on their

digital devices, including in the form of calendar entries and

location data.

          VII. TRAINING AND EXPERIENCE ON DIGITAL DEVICES
           As used herein, the term “digital device” includes the

SUBJECT DEVICE.

           Based on my training, experience, and information from

those involved in the forensic examination of digital devices, I

know that the following electronic evidence, inter alia, is

often retrievable from digital devices:

           a.     Forensic methods may uncover electronic files or

remnants of such files months or even years after the files have

been downloaded, deleted, or viewed via the Internet.           Normally,

when a person deletes a file on a computer, the data contained

in the file does not disappear; rather, the data remain on the

hard drive until overwritten by new data, which may only occur

after a long period of time.       Similarly, files viewed on the



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Internet are often automatically downloaded into a temporary

directory or cache that are only overwritten as they are

replaced with more recently downloaded or viewed content and may

also be recoverable months or years later.

           b.    Digital devices often contain electronic evidence

related to a crime, the device’s user, or the existence of

evidence in other locations, such as, how the device has been

used, what it has been used for, who has used it, and who has

been responsible for creating or maintaining records, documents,

programs, applications, and materials on the device.          That

evidence is often stored in logs and other artifacts that are

not kept in places where the user stores files, and in places

where the user may be unaware of them.        For example, recoverable

data can include evidence of deleted or edited files; recently

used tasks and processes; online nicknames and passwords in the

form of configuration data stored by browser, e-mail, and chat

programs; attachment of other devices; times the device was in

use; and file creation dates and sequence.

           c.    The absence of data on a digital device may be

evidence of how the device was used, what it was used for, and

who used it.    For example, showing the absence of certain

software on a device may be necessary to rebut a claim that the

device was being controlled remotely by such software.

           d.    Digital device users can also attempt to conceal

data by using encryption, steganography, or by using misleading

filenames and extensions.      Digital devices may also contain

“booby traps” that destroy or alter data if certain procedures


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are not scrupulously followed.       Law enforcement continuously

develops and acquires new methods of decryption, even for

devices or data that cannot currently be decrypted.
           Based on my training, experience, and information from

those involved in the forensic examination of digital devices, I

know that it is not always possible to search devices for data

during a search of the premises for a number of reasons,

including the following:

           a.    Digital data are particularly vulnerable to

inadvertent or intentional modification or destruction.           Thus,

often a controlled environment with specially trained personnel

may be necessary to maintain the integrity of and to conduct a

complete and accurate analysis of data on digital devices, which

may take substantial time, particularly as to the categories of

electronic evidence referenced above.

           b.    Digital devices capable of storing multiple

gigabytes are now commonplace.       As an example of the amount of

data this equates to, one gigabyte can store close to 19,000

average file size (300kb) Word documents, or 614 photos with an

average size of 1.5MB.

           The search warrant requests authorization to use the

biometric unlock features of a device, based on the following,

which I know from my training, experience, and review of

publicly available materials:

           a.    Users may enable a biometric unlock function on

some digital devices.     To use this function, a user generally

displays a physical feature, such as a fingerprint, face, or



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eye, and the device will automatically unlock if that physical

feature matches one the user has stored on the device.           To

unlock a device enabled with a fingerprint unlock function, a

user places one or more of the user’s fingers on a device’s

fingerprint scanner for approximately one second.          To unlock a

device enabled with a facial, retina, or iris recognition

function, the user holds the device in front of the user’s face

with the user’s eyes open for approximately one second.

           b.     In some circumstances, a biometric unlock

function will not unlock a device even if enabled, such as when

a device has been restarted or inactive, has not been unlocked

for a certain period of time (often 48 hours or less), or after

a certain number of unsuccessful unlock attempts.          Thus, the

opportunity to use a biometric unlock function even on an

enabled device may exist for only a short time.          I do not know

the passcodes of the devices likely to be found in the search.

           c.     The person who is in possession of a device or

has the device among his or her belongings is likely a user of

the device.     Thus, the warrant I am applying for would permit

law enforcement personnel to, with respect to any device that

appears to have a biometric sensor and falls within the scope of

the warrant: (1) depress JACOBS’s thumb- and/or fingers on the

device(s); and (2) hold the device(s) in front of JACOBS’s face

with his or her eyes open to activate the facial-, iris-, and/or

retina-recognition feature.




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           Other than what has been described herein, to my

knowledge, the United States has not attempted to obtain this

data by other means.

                          VIII.      CONCLUSION

           For all of the reasons described above, there is

probable cause to believe that JACOBS has committed a violation

of 18 U.S.C. § 922(g)(1): Felon in Possession of a Firearm.

There is also probable cause that the items to be seized

described in Attachment B will be found in a search of the

SUBJECT DEVICE described in Attachment A.


Attested to by the applicant in
accordance with the requirements
of Fed. R. Crim. P. 4.1 by
telephone on this ____
                  8th  day of
March, 2022.



UNITED
    ED STATES MAGISTRATE
              MAGISTRAT JUDGE




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